 

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

Rss X Docket#
UNITED STATES OF AMERICA, >: 19-cr-00259-BMC-VMS-1

- versus - : U.S. Courthouse
: Brooklyn, New York

JAHMEEK HUDSON, : October 1, 2019
Defendant : 11:45 AM

TRANSCRIPT OF CRIMINAL CAUSE FOR PLEADING
BEFORE THE HONORABLE VERA M. SCANLON
UNITED STATES MAGISTRATE JUDGE

A P P E A R A N Cc E S:

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BY: James McDonald, Esq.
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Proceedings
THE CLERK: Criminal Cause for a Change of

Guilty Plea, case number 19-cr-259, United States v.

 

Jahmeek Hudson.

Counsel, can you state your name for the
record.

MR. MCDONALD: Good morning, your Honor.

James McDonald on behalf of the United States.

THE COURT: Good morning.

MR. Miedel: Good morning, your Honor.

Florian Miedel for Mr. Hudson.

THE COURT: Good morning. All right. And
that's Mr. Hudson next to you?

MR. MIEDEL: Yes.

THE COURT: All right. Let's just talk about
one procedural point before we get going here, so having
read the documents, there's a Doe party here. How do you
propose that purpose be addressed in this proceeding?

MR. MCDONALD: I think it's appropriate to
refer to the person as Jane Doe. I think we all know who
the person is.

THE COURT: You --

MR. MCDONALD: So I don't think there's any
ambiguity, as long as Mr. Miedel agrees.

MR. MIEDEL: That's correct.

THE COURT: All right. So I don't know who

 

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that person is, so we will confirm that issue, when we
get to it. Okay.

So in terms of the paperwork, what I have been
told is this is a change of plea hearing, but there's no
plea agreement.

Is that right?

MR. MCDONALD: That's correct, your Honor.

MR. MIEDEL: Correct.

THE COURT: Okay. So what I have is from the
government, a plea penalty sheet, which I had requested.
So defendant's counsel, have you seen that?

MR. MIEDEL: Yes, I have.

THE COURT: And any comments on it?

MR. MIEDEL: No.

THE COURT: Okay. Do you agree it's correct?

MR. MIEDEL: It is.

THE COURT: Okay. I also have an element
sheet, which the government also provided. So
defendant's counsel, have you seen this?

MR. MIEDEL: Yes, I have.

THE COURT: And do you agree that the
statements in it are correct?

MR. MIEDEL: Yes.

THE COURT: Okay. I also have a copy of the

indictment, and I have the consent to have a plea taken

 

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before me.

All right. Is there any other paperwork I
should have before we get going here?

MR. MCDONALD: No, your Honor.

MR. MIEDEL: No, your Honor.

THE COURT: Okay. All right. So starting with
the government, are there any victims of the offenses,
and if so, has the government fulfilled its obligation to
notify them of today's hearing, and their right to be
heard?

MR. MCDONALD: Yes, your Honor. We have
fulfilled our obligations.

THE COURT: And the victims would be the Jane
Doe?

MR. MCDONALD: The Jane Doe.

THE COURT: Okay. So you've notified Jane Doe
of her right to attend the hearing and be heard? Is that
right?

MR. MCDONALD: She has been notified by our
Victim Notification Office. Beyond that, I -- the
specifics of whether or not she's been notified that she
has the right to be heard, I assume that's taken care of
by victim notification services.

THE COURT: All right. Is that the usual

practice of your office --

 

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MR. MCDONALD: Yes, your Honor.

THE COURT: -- to notify victims --

MR. MCDONALD: It is.

THE COURT: -- that they have the right to
attend and be heard?

MR. MCDONALD: Yes.

THE COURT: Is there any reason to think this
was handled in any other way than the usual course of
business?

MR. MCDONALD: No.

THE COURT: Okay. All right. So Mr. Hudson,
we're going to start by administering an oath to you. So
I am going to ask my deputy to administer the oath. So
if you could stand.

THE CLERK: And can you raise your right hand.
JAHMEEK HUDSON,

having been first duly sworn, was examined and
testified as follows:

THE CLERK: Thank you. You can have a seat.

THE COURT: All right. So you have two
microphones on that table. If you would like, you can
pull the second one closer to you, and then you and your
counsel will each have a microphone.

All right, so Mr. Hudson, as you may know, this

case has been assigned to a district judge, Judge Cogan.

 

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He's the judge who will make the ultimate decision as to
whether to accept your guilty plea. And if he does
accept your guilty plea, to sentence you. You have the
absolute right to have the district judge, Judge Cogan
listen to your plea without any prejudice to you.

Do you understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: So what's been proposed is rather
than doing this part of the proceeding before Judge
Cogan, that we'll proceed before me. I assume you know
who I am, but just for the record, it's Vera Scanlon.
I'm a magistrate judge here in this court.

So what would happen is if you decide to go
ahead with this change of plea hearing before me is that
we're making a recording, so that's why I asked you each
to have a microphone in front of you. And a transcript
of the recording of today's proceeding will be prepared
by a court reporter. That transcript will be provided to
the district judge, and Judge Cogan will review the
transcript of today's proceeding in connection with
deciding whether to accept your plea, and if he does,
with your sentence.

So, do you understand that process?

THE DEFENDANT: Yes, ma'am.

THE COURT: Do you wish to give up your right

 

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to have Judge Cogan listen to your plea and proceed
instead before me today?

THE DEFENDANT: Yes, ma'am.

THE COURT: All right. In connection with your
exercise of the right to waive having Judge Cogan hear
your plea, and instead proceed before me, I have this
form, which I am holding up.

Have you seen the form?

THE DEFENDANT: Yes, ma'am.

THE COURT: Did you read it?

THE DEFENDANT: And I signed it.

THE COURT: Okay, first did you read it?

THE DEFENDANT: Yes, ma'am.

THE COURT: Do you understand it?

THE DEFENDANT: Yes, ma'am.

THE COURT: And did you have a sufficient
opportunity to review it with your attorney?

THE DEFENDANT: Yes, ma'am.

THE COURT: And then you said you signed it.
Let me just point to where there's a signature for the
defendant.

Is that your signature?

THE DEFENDANT: Yes, ma'am.

THE COURT: All right. And then below that,

counsel, is that your signature?

 

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MR. MIEDEL: Yes, your Honor.

THE COURT: And for the United States, is that
your signature?

MR. MCDONALD: Yes, your Honor.

THE COURT: Okay. All right.

So Mr. Hudson, do you give your consent
voluntarily and of your own free will to proceed here
before me today?

THE DEFENDANT: Yes, ma'am.

THE COURT: And has anyone made any threats or
promises to you to get you to agree to proceed before me?

THE DEFENDANT: No, ma'am.

THE COURT: All right. So I believe that Mr.
Hudson has knowingly and voluntarily going ahead with the
change of plea hearing before me, so I am going to sign
the bottom of the consent form.

All right. So, Mr. Hudson, before we proceed
further with this plea hearing, I'm going to have to ask
you a number of questions in order to assure myself, and
in turn, Judge Cogan, that your plea is, in fact, a valid
plea. So if you don't understand something I say as we
go along, please let me know. If it's a question, I'll
try to reword the question. If it's an explanation, I'll
try to clarify it. I want everything here to be as clear

as possible.

 

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Do you understand that you have the right to be
represented by an attorney at trial and at every other
stage of the criminal proceeding, including this one?

THE DEFENDANT: Yes, ma'am.

THE COURT: And do you understand that if you
can't afford an attorney, the Court may appoint counsel
for you?

THE DEFENDANT: Yes, ma'am.

THE COURT: And counsel, are you appointed?

MR. MIEDEL: Yes.

THE COURT: All right. So if at any time along
the way you would like to speak with your attorney, let
me know, and I will let you do so.

Do you understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: All right. So Mr. Hudson, you
swore to tell the truth earlier when Ms. Quinlan
administered the oath to you. So that means for you, if
you answer any of my questions falsely, those answers may
later be used against you in a separate prosecution for
the crime of perjury or of making a false statement.

Do you understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: I'm going to ask you some

background questions.

 

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What's your full name?

THE DEFENDANT: Jahmeek Latif Hudson.

THE COURT: And how old are you?

THE DEFENDANT: 35.

THE COURT: And what's the highest level of
education that you achieved?

THE DEFENDANT: Tenth grade.

THE COURT: And where did you go to school?

THE DEFENDANT: Lehman High School.

THE COURT: And did you graduate?

THE DEFENDANT: No, ma'am.

THE COURT: And have you gotten a GED?

THE DEFENDANT: No, ma'am.

THE COURT: And after tenth grade, have you had
any formal education?

THE DEFENDANT: Yeah, I went to GED school.

THE COURT: Okay. How long did you go for GED
classes?

THE DEFENDANT: Probably like a few months.

THE COURT: Okay. And besides those post-tenth
grade GED classes, have you had any other formal
education?

THE DEFENDANT: No, ma'am.

THE COURT: Okay. Have you recently been under

the care of a medical provider, such as a doctor, a

 

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physician's assistant, something like that?

THE DEFENDANT: Yeah, I had a doctor.

THE COURT: Okay. So what are you recent
medical treatments?

THE DEFENDANT: I had surgery on my leg. I got
shot in my leg, and I had two surgeries.

THE COURT: Okay. When did the surgeries
happen?

THE DEFENDANT: September 15th, 2018.

THE COURT: Okay. And that was one surgery?
How about the second surgery?

THE DEFENDANT: It was September 26th, 2018.

THE COURT: Okay. Did you have any follow-up
treatment from -- after those surgeries?

THE DEFENDANT: Yeah, I was going like once
every two weeks, I guess.

THE COURT: For how long?

THE DEFENDANT: Until I got incarcerated this
time.

THE COURT: So how long was that?

THE DEFENDANT: Until -- I came in May, so --

THE COURT: May -- I have May 8th.

THE DEFENDANT: May 9th maybe.

THE COURT: So the first appearance I have is

May 10th. Is that right?

 

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THE DEFENDANT: All right, but --

THE COURT: Okay.

THE DEFENDANT: -- I got locked up May 9th, so
maybe a week before that.

THE COURT: And what were you doing with the
doctor with regard to the post-surgical care?

THE DEFENDANT: Therapy.

THE COURT: And since you were incarcerated,
have you received any physical therapy?

THE DEFENDANT: Not physical therapy but I see
a doctor here and there.

THE COURT: Okay. All right. So just going
back to the surgery, besides the physical therapy that
you had from September through May, did you have any
other post-surgical treatment with regard to your knee or
leg injury?

THE DEFENDANT: No, besides doctor's
appointments, no.

THE COURT: Okay. Since you've been
incarcerated what, if any, medical treatment have you
received?

THE DEFENDANT: You know, they give you a full,
you know, medical besides a EKG, and dental, not really
nothing else.

THE COURT: Okay. Were you diagnosed with any

 

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medical conditions when you entered the facility or
thereafter?

THE DEFENDANT: No, besides the medical with my
law, there's nothing -- nothing else.

THE COURT: Okay. In connection with the post-
Surgical care, were you taking any medications?

THE DEFENDANT: They had me on Naproxen.

THE COURT: And when did you stop taking the
Naproxen, if you did take it?

THE DEFENDANT: I still take it for the pain.
I still got it.

THE COURT: You still take it?

THE DEFENDANT: Yes.

THE COURT: How often do you take it?

THE DEFENDANT: Anytime my leg hurt, anytime
I'm in pain.

THE COURT: All right. How are you doing this
week?

THE DEFENDANT: I'm fine.

THE COURT: All right. Hvae you taken Naproxen
this week?

THE DEFENDANT: No, ma'am.

THE COURT: Do you need it?

THE DEFENDANT: No, ma'am.

THE COURT: Okay. All right. Besides the leg

 

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Proceedings

injury, in the past year, have you received treatment for
any other medical condition?

THE DEFENDANT: I had a blood clot on my heart.
I was taking blood thinners.

THE COURT: Okay. When were you diagnosed with
the clot?

THE DEFENDANT: That was on February --
February last year.

THE COURT: "18 or '19?

THE DEFENDANT: '18, February -- yeah.

THE COURT: Okay. Do you still take the blood
thinner?

THE DEFENDANT: No, it -- it drained it out. I
don't have it no more.

THE COURT: Okay. So the -- is it correct that
the blood clot condition has resolved?

THE DEFENDANT: Yes, ma'am.

THE COURT: All right. Besides the surgeries,
and the blood clot, in the past year, have you had any
other medical conditions?

THE DEFENDANT: No, ma'am.

THE COURT: All right. Are you on any other
medicine besides the occasional Naproxen?

THE DEFENDANT: No, ma'am.

THE COURT: All right. Related but different

 

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question, are you presently or have you been recently
under the care of any mental health professional, such as
a psychiatrist or a psychologist?
THE DEFENDANT: No, ma'am.
THE COURT: Have you ever been diagnosed with
any mental illness?

THE DEFENDANT: No, ma'am.

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THE COURT: Have you ever been hospitalized for

a mental illness?

THE DEFENDANT: No, ma'am.

THE COURT: Have you ever been hospitalized or
treated for any addiction to drugs or alcohol?

THE DEFENDANT: I -- I was ina-- a-- a drug
program, if that's what you mean.

THE COURT: Um-hum.

THE DEFENDANT: Yeah.

THE COURT: When was that?

THE DEFENDANT: That was last year. Parole put
me in a drug program.

THE COURT: About when did they put you in the
program?

THE DEFENDANT: No, but that was 2017.

THE COURT: 2017?

THE DEFENDANT: Yes.

THE COURT: Did you finish the program?

 

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THE DEFENDANT: Yes, ma'am.

THE COURT: Okay. Was that inpatient?

THE DEFENDANT: Outpatient.

THE COURT: And how long were you in the
program for?

THE DEFENDANT: For about six months.

THE COURT: Okay. And that was for a drug
addiction?

THE DEFENDANT: Marijuana.

THE COURT: Okay. Have you ever had any
addiction to alcohol?

THE DEFENDANT: No, ma'am.

THE COURT: Have you ever had any other -- any

addiction to any drug other than marijuana?

THE DEFENDANT: No, ma'am.

THE COURT: All right. In the past 48 hours,
have you consumed any drugs?

THE DEFENDANT: No, ma'am.

THE COURT: In the past 48 hours, have you
consumed any alcohol?

THE DEFENDANT: No, ma'am.

THE COURT: In the past 48 hours, have you
taken any medications?

THE DEFENDANT: Besides -- no, ma'am.

THE COURT: Did you take Naproxen?

 

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Sit here today,

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proceedings,
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health reason

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DEFENDANT: Naproxen, no, I didn't.
COURT: No, okay. All right. So as you
is your mind clear?
DEFENDANT: Yes, ma'am.
COURT: And you understand these

is that correct?

DEFENDANT: Yes, ma'am.

COURT: Is there any medical or mental

that would interfere with your ability to

understand these proceedings here today?

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DEFENDANT: No, ma'am.
COURT: And how is your leg feeling today?
DEFENDANT: It's fine.
COURT: Okay. I'm going to ask your lawyer

a couple of questions.

Counsel,

Mr. Hudson?
MR.
THE
communicating
MR.
THE
understanding

MR.

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have you discussed this matter with

MIEDEL: Yes, I have.

COURT: Have you had any difficulty
with him?

MIEDEL: No.

COURT: In your opinion, is he capable of

these proceedings?
MIEDEL: Yes.

COURT: And in your opinion, does he

 

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understand the rights he'll be waiving if he decides to

go ahead with
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competence to
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his guilty plea?

MIEDEL: Yes.

COURT: And do you have any doubt as to his
plead at this time?

MIEDEL: No.

COURT: And do you believe -- well, did you

have an opportunity to explain to him the operation of

the sentencing guidelines?

MR.
THE
the operation
MR.
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MIEDEL: Yes, I did.

COURT: And do you believe he understands
of the sentencing guidelines?

MIEDEL: I do.

COURT: Okay.

right. Mr. Hudson, did you have a

sufficient opportunity to review this case with your

attorney?
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communicating
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DEFENDANT: Yes, ma'am.

COURT: And did you have any difficulty
with him?

DEFENDANT: No, ma'am.

COURT: And are fully you satisfied with

the legal representation and advice provided to you by

your attorney

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in this case?

DEFENDANT: Yes, ma'am.

 

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THE COURT: Did you receive a copy of the
document that we call the indictment?

THE DEFENDANT: Yes, ma'am.

THE COURT: All right. Did you read it?

THE DEFENDANT: Yes, ma'am.

THE COURT: Do you understand it?

THE DEFENDANT: Yes, ma'am.

THE COURT: Did you have a full opportunity to
review it with your attorney?

THE DEFENDANT: Yes, ma'am.

THE COURT: Counsel, do you want me to read the
indictment aloud?

MR. MIEDEL: No, your Honor.

THE COURT: Okay. So I am going to explain
some aspects of a criminal proceeding. The first and
most important thing you should understand, Mr. Hudson,
is that you do not have to plead guilty, even if you are
guilty.

Under the American legal system, the government
or the prosecution has the burden of proving the guilt of
a defendant beyond a reasonable doubt. If the
prosecution fails to do this, or if it cannot meet its
burden of proof, at trial, the jury has the duty to find
the defendant not guilty even if the defendant is, in

fact, guilty.

 

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Do you understand that?

THE DEFENDANT: Yes, ma'am.

THE COURT: So for you, you have a choice.

It's up to you. It's not your lawyer's choice. It's not
your family's choice. It's completely your choice what
to do in this case.

You may withdraw your previously entered plea
of not guilty and plead guilty as I'm told you wish to do
or you can choose to go to trial.

If you would like to go to trial, when I ask
you what your plea is, you would persist in your plea of
not guilty. If you do that, you'll make the United
States meet its burden of proving you guilty beyond a
reasonable doubt, and were the government to fail in that
effort, the jury would have the obligation to find you
not guilty.

Do you understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: If you plead not guilty, under the
Constitution and the laws of the United States, you are
entitled to a speedy and public trial by jury with the
assistance of an attorney on the charge contained in the
indictment which has been filed with the Court.

Do you understand?

THE DEFENDANT: Yes, ma'am.

 

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THE COURT: At trial, you would be presumed
innocent. You wouldn't have to prove your innocence. It
would be solely the -- it would be -- sorry -- the
government's burden to overcome that presumption and
prove you guilty by competent evidence and beyond a
reasonable doubt.

Do you understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: So were the government failed to
meet its burden, as I said earlier, the jury would have
the duty to find you not guilty.

Do you understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: If you plead guilty, you're giving
up your right to have the government satisfy its burden
of proving you guilty beyond a reasonable doubt.
Instead, you'll be admitting your guilt.

Do you understand that?

THE DEFENDANT: Yes, ma'am.

THE COURT: Were you were to go to trial,
witnesses for the government would have to come to court
and testify in your presence. Your attorney would have
the right to cross-examine those witnesses for the
government, your attorney could object to the evidence

offered by the government, your attorney could offer

 

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witnesses and other evidence on your behalf. Your
attorney would have the right to compel or subpoena
witnesses to come and testify.

Do you understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: By pleading guilty, and if I
recommend to the district judge that he accept your plea,
and that's what Judge Cogan does, you're giving up these
rights. You're giving up your right to confront the
witness who would testify against you. You're giving up
your right to raise evidence -- to offer evidence on your
own behalf, to compel witnesses to come to court to
testify, and to raise any defenses that you may have.

Do you understand?

THE DEFENDANT: Yes, ma'am

THE COURT: Were there to be a trial in your
case, you would have the right to testify on your own
behalf if you wanted to do so, but no one could make you
testify. Under the Constitution of the United States, a
defendant in a criminal case cannot be forced to take the
witness stand at his or her own trial, and say anything
that could be used against him to show that he is guilty
of the crime or crimes with which he is charged.

So, if you decided not to testify at your

trial, the judge would instruct the jury that the jurors

 

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could not hold that fact against you.

Do you understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: This is sometimes called the right
against self-incrimination. It's also known as taking
the Fifth.

Do you understand that?

THE DEFENDANT: Yes, ma'am.

THE COURT: So if you plead guilty, you're
admitting your guilt, and in admitting your guilt, you're
giving up your right against self-incrimination.

Do you understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: If you plead guilty, I'm going to
have to ask you questions about what you did in order to
satisfy myself, and in turn, Judge Cogan that you, in
fact, are guilty of each of the charges to which you
plead guilty.

You are going to have to answer my questions
truthfully and acknowledge your guilt. You'll be
answering those gquestions subject to the oath that Ms.
Quinlan administered to you earlier.

Do you understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: So it's not going to be enough

 

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simply for you to say the words guilty, you're going to
have to tell me what it is that you did as to each of the
charges to show -- each of the charges to which you are
pleading guilty, that you are, in fact, guilty.

Do you understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: If you plead guilty and I recommend
to Judge Cogan that he accept your plea and that's what
he does, you'll be giving up your constitutional rights
to a trial, and all of the other rights that I have just
discussed. There will not be a trial in your case. If
Judge Cogan accepts your plea of guilty, he will simply
enter a judgment of guilty on the basis of your plea.

Do you understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: If after you are sentenced, you or
your attorney thinks the Court has not properly followed
the law in sentencing you, you can appeal your sentence
to a higher court. But by pleading guilty, you will not
except under very limited circumstances, be able to
challenge the judgment of conviction either directly by
appeal or indirectly by what we call a collateral attack.

Do you understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: All right. Are you willing to give

 

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up your right to a trial, and the other rights that I
just discussed?

THE DEFENDANT: Yes, ma'am.

THE COURT: All right. This is the stage where
I usually go over where there is a plea agreement, so my
understanding is there's no plea agreement; is that
right?

MR. MCDONALD: That's correct.

THE COURT: Were any plea offers made by the
government?

MR. MCDONALD: There were, your Honor.

THE COURT: And counsel for the defendant, were
all of those plea offers communicated to your client?

MR. MIEDEL: Yes, I mean the government offered
a plea to the charge, and made a recommendation on the
guidelines, and that was the plea that was communicated
to the -- to Mr. Hudson.

THE COURT: Is there any other --

MR. MCDONALD: There was one --

THE COURT: -- offer? That's the only --

MR. MCDONALD: -- there was one plea offer
made, which he's described, your Honor.

THE COURT: All right. And is it correct to
assume that your client wants to proceed in the way that

we're doing today, rather than accept that arrangement

 

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1 }| with the government?

2 MR. MIEDEL: Yes.

3 THE COURT: Is that correct?

4 MR. MIEDEL: Yes.

5 THE COURT: Okay. And counsel, did you have

6 | full opportunity to discuss the ramifications of that

7 | choice with your client?

8 MR. MIEDEL: Yes.

9 THE COURT: All right. And Mr. Hudson, did you
10 | have a full and fair opportunity to consider the offer

11 | made by the government?
12 THE DEFENDANT: Yes, yes, ma'am.

13 THE COURT: All right. And did you have a full

14 |} and fair opportunity to discuss it with your attorney?
15 THE DEFENDANT: Yes, ma'am.

16 THE COURT: And did you fully understand the
17 | government's offer?

18 THE DEFENDANT: Yes, ma'am.

19 THE COURT: And it is your decision to not

20 | accept that offer.

21 Is that correct?
22 THE DEFENDANT: Yeah, I don't want that.
23 THE COURT: Okay. All right. So we're going

24 | to go over the sentencing scheme which is outlined in the

25 | document called the plea penalty sheet, which we referred

 

 

 

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to earlier.

All right. So what's been proposed is that Mr.
Hudson is going to plead guilty to two counts in the
indictment; witness tampering, and conspiracy to tamper
with a witness. So Count 1 is the conspiracy to tamper
with a witness, and Count 2 is tampering with a witness.

The first count, conspiracy to tamper with a
witness is in violation of a federal statute which is
referred to as 18 USC Sections 1512(b) (1), and
1512 (b) (2) (A).

And Count 2, tampering with a witness is in
violation of a federal statute, that's referred to as 18
USC which is United States Code, Sections 1512(b)(1), and
1512 (b) (2) (A) (11) and there's also a reference to 3551.
All right. Just so we're clear about what the counts
are.

So going back to the plea penalty sheet,
because the penalties are the same for each count, I am
going to talk about them together but there are two
separate counts here. If that's not clear, you should
let me know.

The statutory penalties for each of these two
counts is the maximum term of imprisonment is 20 years.
The minimum term of imprisonment is zero years.

Do you understand?

 

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THE DEFENDANT: Yes, ma'am.

THE COURT: The maximum supervised release term
is three years. It would follow any term of
imprisonment. Were you to violate a condition of

supervised release, you may then be sentenced for up to
two years, which would include no credit for pre-release
imprisonment or time previously served on post-release
supervision.

Do you understand that?

THE DEFENDANT: Yes, ma'am.

THE COURT: The maximum fine that can be imposed
is $250,000.

Do you understand that?

THE DEFENDANT: Yes, ,ma'tam.

THE COURT: There's no restitution provision

but you will be charged a $100 special assessment per

count.

Do you understand that?

THE DEFENDANT: Yes, ma'am.

THE COURT: Okay. The next part is as
important as what I just went over. The sentence imposed

on Count 1 may run consecutively to the sentence imposed
on Count 2. So it may be that there is a sentence for
one count, and when that's finished, the next sentence

picks up. So --

 

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THE DEFENDANT: Yes, ma'am.

THE COURT: -- they need not run concurrently.

Do you understand that?

THE DEFENDANT: Yes, ma'am.

THE COURT: Okay. Just a few other details
with regard to this. With regard to supervised release,
while on supervised release, there may be many
restrictions placed on your liberty. Those restrictions
may include travel limitations, the requirement that you
report regularly to a probation officer, a prohibition on
carrying weapons, including guns, and other limitations.

Do you understand that?

THE DEFENDANT: Yes, ma'am.

THE COURT: All right. Do you understand there
is no parole in the federal system, so that if you were
sentenced to a prison term, you would not be released on
parole, and you will be required to spend the entire
period of that term in prison.

Do you understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: All right. So you mentioned
earlier you had state parole. The federal system is
different. Do you understand that there is that
difference?

THE DEFENDANT: Yes, ma'am.

 

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THE COURT: All right. So let me ask your
attorney, is your client a citizen of the United States?

MR. MIEDEL: Yes.

THE COURT: Is he born in the United States?

MR. MIEDEL: Yes.

THE COURT: All right. I raise that issue
because if you were not a United States citizen, or there
were any question as to your citizenship, it could raise
a question as to whether conviction in this case would
lead to your removal or deportation from the United
States.

All right. Counsel, is there any need to go
over the immigration question in any more detail?

MR. MIEDEL: No.

THE COURT: Okay. All right. Let's talk about
the sentencing process. The sentencing judge, which in
your case is going -- or who in your case is going to be
Judge Cogan, does not have complete discretion to impose
a sentence outside of the statutory minimum and maximum
sentences set forth in the statute. And we just went
over what those are.

So do you understand that?

THE DEFENDANT: Yes, ma'am.

THE COURT: All right. It's a multi-step

process to decide what a sentence should be. The first

 

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step is that the judge will consider what we call the
advisory sentencing guidelines. Those are guidelines
that have been issued by the United States Sentencing
Commission. Their purpose is to help a judge determine
what is a reasonable sentence in a criminal case.

The second step in the judge's process, and in
determining the sentence is to consider whether there are
any factors present that would allow the sentencing judge
to depart from those guidelines. A judge can depart
upwardly or downwardly.

Third, the judge has to consider factors that
are set forth in a particular federal statute, that's 18
United States Code, Section 3553(a). The judge takes
those factors and compares them, and considers them
against all of the facts and circumstances of your case.
After doing all of that analysis, it may be that the
judge decides to impose what we would call a non-
guideline sentence, which would be something from what
the sentencing guidelines recommend as a sentence, or
advise as a sentence in your case.

The practical import you is that until the date
of sentence, when a judge has gone through this process,
has received and read a pre-sentence report that will be
prepared about you, and hears from you, your lawyer, and

the government, you cannot know with certainty what the

 

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sentencing guidelines will be for your case, or whether
will be grounds for the judge to depart from those
guidelines, whether it's upwardly or downwardly, and
whether the judge will impose a guideline sentence ora
non-guidelines sentence.

So you can't know what your sentence is going
to be until the actual date of sentencing.

Do you understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: All right. Despite the lack of
certainty, I am going to ask the lawyers to give their
best estimate as to what the guidelines are likely to
say. You should note that this estimate is based upon
the facts that are available to them at this point in
time. It may be that they learn things between now and
the date of sentencing. It may be that circumstances
change between now and the date of sentencing.

So at best, this is an estimate, and it's
really based on what they know now. And as I said, that
could change.

So for the government, I'm going to ask you to
give the estimate. I understand that your estimate is
outlined on the second page of the plea penalty sheet.

Is that correct?

MR. MCDONALD: It is, your Honor.

 

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THE COURT: All right. So if you could for the
record, just state what you believe the guidelines
estimate is for this case.

MR. MCDONALD: The estimated guidelines are
from the government's analysis, are 57 to 71 months,
assuming the defendant falls within criminal history
category four. There's again, some possibility of maybe
slightly below 57 to 71 months, if the government makes a
third point motion at the time of sentencing, which is
not included here, as part of the calculation. So our
current estimate is 57 to 71 months.

THE COURT: Okay. So Mr. Hudson, do you
understand what the government's position is to what your
sentencing guidelines are likely to be for this case?

THE DEFENDANT: Yeah, yeah, I guess. Yeah.

THE COURT: Do you need the government to say

any more? Do you need to --

THE DEFENDANT: No, I don't -- that's -- that's
ridiculous.

THE COURT: Okay. So it's not -- right now,
it's not a conversation of what it should be. This is

just to make sure you understand what the government's
current estimate is as to what the sentencing guidelines
may say based on the information available to them.

THE DEFENDANT: Yeah, I understand.

 

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THE COURT: All right. So did you read the
back of this second page of the plea penalty sheet, which
outlines what the government's position is?

MR. MIEDEL: Your Honor, I think Mr. Hudson
read the or we talked -- certainly talked abut the plea
offer, which contained a similar analysis. We just
received this today, so he hasn't read this actual
document but we've discussed it at length.

THE COURT: Okay. Is there anything different
here that you need to have time to review with Mr.
Hudson?

MR. MIEDEL: No.

THE COURT: All right. So defendant's counsel,
what's your estimate as to what the sentencing guidelines
are likely to be?

MR. MIEDEL: Well, your Honor, let me put it
this way. The guidelines calculation in this case is
somewhat complicated. And we do not, at this point,
agree with the government's calculation, believe it to be
lower. What the precise guidelines calculation is, given
all the factors, I cannot tell you at this moment, but we
believe that it will -- that ultimately, that the
guidelines range will be lower.

THE COURT: Okay. So for you, Mr. Hudson, if

you decide to continue with the process that we have

 

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started now, and that you do decide to enter a guilty
plea which is totally up to you, you're not going to know
what your sentence is, and it's for the reasons that I
described earlier, which is which is that it's a multi-
stepped process that the judge needs to go through, based
on all of the information being presented to him, and
that information, some of it is known to the government
now, some of which your attorney's presumably developing,
but much of which will be included in the pre-sentence
report, which is what the written report the judge will
receive about you, but you know that doesn't exist yet.

So based on your -- the government's take on
the facts of the case, and the circumstances, they
believe there will be a certain guidelines, your attorney
just articulated that this is a complicated calculation
and he's going to advocate on your behalf for a different
sentence, that the sentencing guidelines should be lower,
and then that the sentence should be lower.

All of that will be developed over time between
-- if you decide to enter your plea of guilty, and the
date of sentencing, but what's really important for you
to consider is you can't know what their respective
positions are going to be at the date of sentencing, and
what they'll be able to present to the judge, and you

can't know what Judge Cogan is going to do.

 

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So if you decide to go ahead with this plea,
you are making that decision based on strong degree of
uncertainty as to what your sentence is going to be, or
even likely to be.

So do you understand that?

THE DEFENDANT: Yes, ma'am.

THE COURT: All right. Despite all of that
uncertainty, do you still want to proceed with our
proceeding today?

THE DEFENDANT: Yes, ma'am.

THE COURT: All right. So do you understand
that the estimates that were given here today by your
attorney, and -- well, your attorney -- let me say that
differently.

Do you understand that the estimates given by
the government, and the factors that were identified by
your attorney as potentially altering that calculation,
none of that is binding on the Court?

THE DEFENDANT: No, say that again.

THE COURT: Okay. So basically, the government
is thinking that the sentencing guidelines at your date
of sentence are likely to be a certain number, which for
now is likely to be between 57 and 71 months, based on
certain assumptions, and it might be that the government

makes a motion to bring that down a little bit, but they

 

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haven't made a decision on that front yet. That's one
side of this calculation.

Another part is your attorney's going to make
several arguments that will, if he is successful, lower
the sentencing guidelines, and might persuade the judge
to give you a lower sentence than 57 to 71 months.

Do you understand that?

THE DEFENDANT: Yes, ma'am.

THE COURT: Okay. Those are, each side of the
case, your respective positions, and the lawyers will
advocate as they should, on behalf of their respective
clients. None of that's binding on the judge. The judge
has to go through the three-step process that I described
earlier, and come to a decision as to what the sentencing
guidelines are for your case, and what your sentence will
be.

So do you understand the difference --

THE DEFENDANT: Yes, ma'am.

THE COURT: -- between what the lawyers are
Saying, and what the judge does?

THE DEFENDANT: Yeah, it don't matter what they
say. It's up to the judge.

THE COURT: Well, they might be persuasive to
the judge, so you should know that the judge is going to

hear their side of the advocacy, and the judge is also

 

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going to hear your side.

THE DEFENDANT: Yes.

THE COURT: Okay?

THE DEFENDANT: Uh-hum.

THE COURT: So both sides are going to be
presented, and then the judge will make an independent
decision, taking all of that into account.

THE DEFENDANT: Right.

THE COURT: All right. So do you understand
that process?

THE DEFENDANT: Yes, ma'am.

THE COURT: Okay. All right. Do you understand
even if the government is wrong about what the estimate
of your sentencing guidelines should be, or your lawyer
is wrong, as to the chances of success on persuading the
judge one -- you know, to have a better sentence, you
will not be allowed to withdraw your guilty plea solely
because of the possibility that they'll -- one or more of
the lawyers is wrong about the sentencing guidelines or
your likely sentence.

Do you understand that?

THE DEFENDANT: Yes, ma'am.

THE COURT: Okay. So your ultimate sentence
could turn out to be different from what either lawyer

has said here today.

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Do you understand that?

THE DEFENDANT: Yes, ma'am.

THE COURT: Okay. So it could turn out that
because of other statutory sentencing factors, Judge
Cogan may impose a sentence even higher than the one
called for by the advisory sentencing guidelines.

If that turned out to be the case, that
wouldn't be a basis for you to withdraw your guilty plea
simply because no one could tell you in advance what your
sentence might be.

Do you understand that?

THE DEFENDANT: Yes, ma'am.

THE COURT: Okay. Do you understand that if
you go ahead with your guilty plea and if it's accepted
by the district judge, that you are pleading guilty toa
felony offense -- to felony offenses and if the plea is
accepted and you are adjudged guilty, that adjudication
may result in the deprivation of valuable civil rights.
Those rights include your right to vote, hold public
office, serve on a jury, and possess a firearm, among
other rights.

Do you understand?

THE DEFENDANT: Yes, ma'am.

THE COURT: All right. So I've gone over here

today many of the possible consequences to you if your

 

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guilty plea is accepted.

Do you understand all of these possible
consequences?

THE DEFENDANT: Yes, ma'am.

THE COURT: Have you reviewed them with your
attorney?

THE DEFENDANT: Yes, ma'am.

THE COURT: Did you have a sufficient
opportunity to review them with your attorney?

THE DEFENDANT: Yes, ma'am.

THE COURT: All right. Let me ask the
government some questions. Is the government prepared to
prove at trial all of the elements of the two counts
against the defendant?

MR. MCDONALD: Yes, your Honor, we are.

THE COURT: And those elements are set forth in
the element sheet.

Is that correct?

MR. MCDONALD: They are, your Honor.

THE COURT: All right. I asked this question
earlier, but defendant's counsel, do you have any comment
or disagreement with anything stated in the elements
sheet?

MR. MIEDEL: JI think you did, and I don't.

THE COURT: Okay.

 

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THE COURT: All right. For the government,
what is the evidence the government would offer at trial
to prove the charges against the defendant?

MR. MCDONALD: Your Honor, the government would
establish the following, that at or around the time of
this offense, which was April of 2019, there was then at
that time scheduled in the Eastern District of New York,
a federal criminal trial against an individual known as
Shakeem Boykins, which was scheduled to commence on or
about June 10th of 2019.

In or about Aril of 2019, an individual known
as Jane Doe contacted law enforcement to report that
photocopies of a New York City Police Department
interview report concerning Jane Doe had been posted in
the lobbies of various buildings in the Louis H. Pink
Houses in Brooklyn, New York. Among other things, those
posters described Jane Doe as a rat, and said that she is
still ratting.

Based on this information, law enforcement
officers reviewed and obtained cell phone, and video
surveillance records from the Louis H. Pink Houses. As
part of their review, law enforcement officers identified
the defendant Jahmeek Hudson was the individual who
posted these posters in the Louis H. Pink Houses, and the

government would introduce video surveillance evidence

 

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showing the defendant posting these posters.

The government would also introduce records
obtained from various communication services including
Facebook, showing communications by the defendant in
connection with posting these posters, including showing
his awareness that Jane Doe was likely to be a witness in
the trial against Shakeem Boykins in June of 2019.

The government would also show that the
defendant Jahmeek Hudson, worked with another individual
as part of posting these posters, and this would include
from video surveillance evidence, as well as recordings
sent by the defendant which would included multiple
voices on the recordings.

So this would be a summary of what the
government would show at trial.

THE COURT: All right. And just so I'm clear,
when you say that the government would offer evidence
that Mr. Hudson worked with another individual in the
activities related to Jane Doe. That's the evidence that
he agreed with that person to pursue these actions
against Jane Doe; is that correct?

MR. MCDONALD: Yes, your Honor. The individual
who was -- there would be two pieces to show that one,
the defendant posted most of the posters but the other

individual posted some of the additional posters, so that

 

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would show concerted effort by the two of them to post
the same poster in each of the buildings.

In addition, the recordings indicate multiple
people present during the same conversations that
describe Jane Doe as a rat and other language to that
effect, and that would show agreement with respect to
that characterization.

THE COURT: Okay. All right. Counsel, do you
agree that government would be able to prove the
defendant's guilt as to the two charges in the indictment
based on the evidence just described by the government?

MR. MIEDEL: Yes, your Honor.

THE COURT: Do you know of any reason why Mr.
Hudson should not plead guilty?

MR. MIEDEL: No, your Honor.

THE COURT: Are you aware of any viable legal
defense to the two charges against him?

MR. MIEDEL: No.

THE COURT: In your professional opinion, is it
in Mr. Hudson's best interest to proceed with the plea
here today?

MR. MIEDEL: Yes, it is.

THE COURT: All right. So Mr. Hudson, are you
ready to plead?

THE DEFENDANT: Yes, ma'am.

 

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THE COURT: All right. Do you need an
opportunity to speak with your attorney about anything?

THE DEFENDANT: No.

THE COURT: Just giving you an opportunity to
talk to him if you have any questions that you need
answered before you make the decision as to whether you
would like to change your plea.

THE DEFENDANT: No, I'm good.

THE COURT: No, okay.

THE DEFENDANT: I'm fine.

THE COURT: All right. So with regard to the
indictment, there's Count 1, which is the conspiracy to
tamper with a witness, how do you plead, guilty or not
guilty?

THE DEFENDANT: Guilty.

THE COURT: And with regard to Count 2, which
is tampering with a witness, how do you plead, guilty or
not guilty?

THE DEFENDANT: Guilty.

THE COURT: Okay. So going back to the
beginning of the -- sorry, the beginning of today's
proceeding, I said I was going to have to ask you
questions about what you did so that I could assure
myself, and in turn, the district judge, Judge Cogan,

that you are in fact, guilty of these two counts.

 

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So in your own words, if you could tell me what
you did such that you are, in fact, guilty of the two
counts in the indictment, conspiracy to tamper with a
witness, and tampering with a witness.

THE DEFENDANT: So in 2019, in Brooklyn, I
agreed with others to try to prevent a person from
testifying at a federal trial. I did so by revealing her
name to the public by putting posters up about her, and
by urging people who knew her to tell her not to testify.

I understand that she might have felt
intimidated by my actions. I understand that what I did
was unlawful, and I apologize.

THE COURT: All right. for the government --
well, let me ask defense counsel, would you like your
client to add anything else to the record with regard to
the plea to the two counts?

MR. MIEDEL: No, your Honor.

THE COURT: For the government, is that
allocution satisfactory?

MR. MCDONALD: I believe he mentioned Brooklyn.

MR. MIEDEL: Yes.

THE COURT: Yes.

MR. MCDONALD: Yes, that's satisfactory, your
Honor.

THE COURT: Okay. Let me ask you a few more

 

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questions, Mr. Hudson.

Are you pleading guilty to these two counts
voluntarily and of your own free will?

THE DEFENDANT: Yes, ma'am.

THE COURT: Has anyone threatened or forced you
to plead guilty to these two counts in the indictment?

THE DEFENDANT: No, ma'am.

THE COURT: Are you pleading guilty of your own
free will because you are, in fact, guilty of the two
counts in the indictment?

THE DEFENDANT: Yes, ma'am.

THE COURT: All right. Based on the
information given to me here today by counsel, and by Mr.
Hudson, I believe he fully -- he is fully competent, and
capable of entering an informed plea, that he is acting
voluntarily, that he aware of the nature of the charges
against him, that he understands his rights, that he
understands the consequences of his change of plea to a
plea of guilty, and I find that there's a factual basis
for the plea as to each of the counts in the indictment.

So I therefore respectfully recommend to
District Judge Cogan that he accept the plea of guilty to
both counts in the indictment, which as we said earlier,
was conspiracy to tamper with a witness, and tampering

with a witness.

 

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All right. Do we have a sentencing date?

THE CLERK: Yes, January 7th at 10:30 a.m.

THE COURT: So January 7th, at 10:30 -- sorry,
January 7th, of 2010 -- sorry, 2020, at what time?

THE CLERK: 10:30.

THE COURT: 10:30 a.m.

So as I mentioned earlier, Mr. Hudson, there's
going to be a presentence report provided or prepared
about you. For your attorney, would you like to
participate in that interview process?

THE DEFENDANT: My --

THE COURT: That question is for your lawyer.

MR. MIEDEL: Oh, I am so sorry. I do want to
be present, yes.

THE COURT: Okay. So we'll let probation know
that.

Is there any reason that the custodial
Situation with regard to Mr. Hudson should change?

MR. MCDONALD: No, your Honor.

MR. MIEDEL: No, your Honor.

THE COURT: Okay. Is there anything else we
need to include on the record?

MR. MCDONALD: Not from the government, your
Honor, no.

MR. MIEDEL: No, your Honor. Thank you.

 

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THE COURT: All right. Let me just ask, there
are some individuals in the courtroom, are they here to
support Mr. Hudson?

MR. MIEDEL: Yes, they are.

THE COURT: All right. So do you want to note
their appearance on the record, or we'll just --

MR. MIEDEL: I can, one is his mother, one is
his girlfriend.

THE COURT: Okay. I should actually ask one
question going back to the plea, it was something we
touched at the beginning. We didn't name the Jane Doe,
the person was referred to as Jane Doe. Let me -- I
don't know who the Jane Doe is, so let me make clear
questions to Mr. Hudson.

You spoke about Jane Doe. It's obviously not
her real name. We're not asking you to include her name
in the record but do you know who Jane Doe is?

THE DEFENDANT: Um-hum.

THE COURT: The answer is yes?

THE DEFENDANT: Yes, matam. Yes, ma'am.

THE COURT: Okay. So that's really the only
additional piece of information I wanted to add to the
record. All right. So let me ask again, just to make
sure, is there anything else we should add to the record

here?

 

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Take care.
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MCDONALD: No, your Honor, not from the

COURT: No.
MIEDEL: No, your Honor.

COURT: All right. Thank you very much.

MCDONALD: Thank you, your Honor.
COURT: Take care, bye.
(Matter concluded)
-o00-
(Matter concluded)

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I, LINDA FERRARA, hereby certify that the
foregoing transcript of the said proceedings is a true
and accurate transcript from the electronic sound-
recording of the proceedings reduced to typewriting in

the above-entitled matter.

I FURTHER CERTIFY that I am not a relative or
employee or attorney or counsel of any of the parties,
nor a relative or employee of such attorney or counsel,
or financially interested directly or indirectly in this

action.

IN WITNESS WHEREOF, I hereunto set my hand this

1ith day of November, 2019.

val Z>
Prk pdb

Linda Ferrara

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